        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 1 of 11




 1
 2
 3
 4
 5   Mario V. Glisic, Esq.
     Carpenter Wellington PLLC
 6
     107 Spring Street, Suite 3028
 7   Seattle, WA 98104
     Telephone Number: 206-395-5998
 8   E-Mail Address: mglisic@carpenterwellington.com
 9
     Attorney for Defendant Prototek Corporation
10
11                                   IN THE UNITED STATES DISTRICT COURT

12                              FOR THE WESTERN DISTRICT OF WASHINGTON

13
14      SYMBOLOGY INNOVATIONS, LLC,                                                Civil Action No.: 3:20-cv-05871-BHS
15                           Plaintiff,                                            The Honorable Benjamin H. Settle
                   v.
16
                                                                                   TRIAL BY JURY DEMANDED
17      PROTOTEK CORPORATION,

18                           Defendant.
19
20
                   DEFENDANT’S ANSWER, DEFENSES, AND COUNTERCLAIMS TO
21                  PLAINTIFF’S COMPLAINT FOR INFRINGEMENT OF PATENT
22
               Defendant Prototek Corporation (“Defendant” or “Prototek”), by its undersigned counsel,
23
24   answers plaintiff Symbology Innovations, LLC’s (“Plaintiff” or “Symbology”) complaint for

25   infringement of patent (the “Complaint”) as follows:
26
          I.         RESPONSES TO PLAINTIFF’S ALLEGATIONS
27
                                                    NATURE OF THE ACTION
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -1-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 2 of 11




 1        1. Prototek admits that the Complaint purports to set forth an action for infringement under

 2             the Patent Laws of the United States, Title 35 United States Code (“U.S.C.”). Prototek
 3
               admits that a purported copy of U.S. Patent No. 8,424,752 (the “‘752 patent”) is attached
 4
               to Plaintiff’s Complaint as Exhibit A. Prototek denies that it is infringing and profiting, in
 5
               an illegal and unauthorized manner, and without authorization and/or consent from
 6
 7             Plaintiff, from the ‘752 patent, and, on that basis, denies any remaining allegations in

 8             paragraph 1 of the Complaint.
 9
                                                               THE PARTIES
10
          2. Prototek lacks knowledge or information sufficient to form a belief about the truth of the
11
               allegations in paragraph 2 of the Complaint and, on that basis, denies all such allegations.
12
13        3. Prototek admits the allegations in paragraph 3 of the Complaint.

14        4. Prototek denies that it derives a portion of its revenue from advertisements. Prototek
15             admits the remaining allegations in paragraph 4 of the Complaint.
16
                                                  JURISDICTION AND VENUE
17
          5. Prototek admits that the Complaint purports to set forth an action for infringement in
18
19             violation of the Patent Act of the United States, 35 U.S.C. §§1 et seq. For avoidance of

20             doubt, Prototek denies a violation of the Patent Act of the United States, 35 U.S.C. §§1 et
21
               seq., and denies liability for all allegations of patent infringement included or implied in
22
               paragraph 5 of the Complaint.
23
          6. Prototek admits the allegations in paragraph 6 of the Complaint.
24
25        7. Prototek does not contest whether personal jurisdiction over it properly lies in this

26             District in this case, and therefore admits that it has systemic and continuous contacts
27
               with this jurisdiction, and that its residence is in this District. Prototek denies that it has
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -2-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 3 of 11




 1             committed or is committing acts of infringement within this District and, on that basis,

 2             denies the remaining allegations in Paragraph 7 of the Complaint.
 3
          8. Prototek does not contest whether this Court has specific and general personal
 4
               jurisdiction over it in this case, and therefore admits that has substantial business in this
 5
               District by regularly doing or soliciting business in the District, deriving revenue from
 6
 7             goods and services provided to individuals in this District, and being incorporated in this

 8             District. Prototek denies it has committed or is committing acts of infringement within
 9
               this District and, on that basis, denies the remaining allegations in Paragraph 8 of the
10
               Complaint.
11
          9. Prototek admits the allegations in paragraph 9 of the Complaint.
12
13                                                  FACTUAL ALLEGATIONS
14        10. Prototek admits that a purported copy of the ‘752 patent is attached to Plaintiff’s
15
               Complaint as Exhibit A and that, on its face, the ‘752 patent is entitled “System and
16
               method for presenting information about an object on a portable electronic device” and
17
               bears an issuance date of April 23, 2013. Prototek denies that the ‘752 patent was legally
18
19             or duly issued. Prototek lacks knowledge or information sufficient to form a belief about

20             the truth of the remaining allegations in paragraph 10 of the Complaint and, on that basis,
21
               denies all such allegations.
22
          11. Prototek lacks knowledge or information sufficient to form a belief about the truth of the
23
               allegations in paragraph 11 of the Complaint and, on that basis, denies all such
24
25             allegations.

26
27
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -3-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 4 of 11




 1        12. Prototek lacks knowledge or information sufficient to form a belief about the truth of the

 2             allegations in paragraph 12 of the Complaint and, on that basis, denies all such
 3
               allegations.
 4
          13. Prototek lacks knowledge or information sufficient to form a belief about the truth of the
 5
               allegations in paragraph 13 of the Complaint and, on that basis, denies all such
 6
 7             allegations.

 8        14. Prototek admits that, pursuant to the purported copy of the ‘752 patent that is attached to
 9
               Plaintiff’s Complaint as Exhibit A, on its face, Claim 1 of the ‘752 patent is described as
10
               alleged in paragraph 14 of the Complaint.
11
          15. Prototek lacks knowledge or information sufficient to form a belief about the truth of the
12
13             allegations in paragraph 15 of the Complaint and, on that basis, denies all such

14             allegations.
15        16. Prototek lacks knowledge or information sufficient to form a belief about the truth of the
16
               allegations in paragraph 16 of the Complaint and, on that basis, denies all such
17
               allegations.
18
19        17. Prototek denies the allegations in paragraph 17 of the Complaint.

20                                                 DEFENDANT’S PRODUCTS
21
          18. Prototek denies the allegations in paragraph 18 of the Complaint.
22
          19. Prototek denies the allegations in paragraph 19 of the Complaint.
23
          20. Prototek denies the allegations in paragraph 20 of the Complaint.
24
25        21. Prototek denies the allegations in paragraph 21 of the Complaint.

26        22. Prototek denies the allegations in paragraph 22 of the Complaint.
27
          23. Prototek denies the allegations in paragraph 23 of the Complaint.
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -4-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 5 of 11




 1        24. Prototek denies the allegations in paragraph 24 of the Complaint.

 2        25. Prototek denies the allegations in paragraph 25 of the Complaint.
 3
          26. Prototek denies the allegations in paragraph 26 of the Complaint.
 4
                                          INFRINGEMENT OF THE ‘752 PATENT
 5
 6        27. Prototek repeats and realleges, as if fully set forth herein, its responses to the allegations

 7             in paragraphs 1 to 26 of the Complaint.
 8        28. Prototek denies the allegations in paragraph 28 of the Complaint.
 9
          29. Prototek denies the allegations in paragraph 29 of the Complaint.
10
          30. Prototek denies the allegations in paragraph 30 of the Complaint.
11
12        31. Prototek denies the allegations in paragraph 31 of the Complaint.

13        32. Prototek denies the allegations in paragraph 32 of the Complaint.
14        33. Prototek denies the allegations in paragraph 33 of the Complaint.
15
          34. Prototek denies the allegations in paragraph 34 of the Complaint.
16
          35. Prototek denies the allegations in paragraph 35 of the Complaint.
17
          36. Prototek lacks knowledge or information sufficient to form a belief about the truth of the
18
19             allegations in paragraph 36 of the Complaint and, on that basis, denies all such

20             allegations.
21
                               DEMAND FOR JURY TRIAL; PRAYER FOR RELIEF
22
          37. The remainder of Plaintiff’s Complaint recites a demand for jury trial and prayer for
23
24             relief, to which no response is required. To the extent any response is required, (i)

25             Prototek agrees with the demand for a trial by jury of any and all causes of action so
26             triable and (ii) denies that Plaintiff is entitled to any remedy or relief.
27
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -5-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 6 of 11




 1        38. To the extent not expressly admitted herein, Prototek denies each and every other

 2              allegation, express or implied, contained in Plaintiff’s Complaint.
 3
 4
          II.        PROTOTEK’S DEFENSES
 5
                Prototek asserts the defenses listed below. Prototek reserves the right to amend its answer
 6
 7   to add additional defenses consistent with the facts discovered in this case.

 8                                       FIRST DEFENSE: NON-INFRINGEMENT
 9
          39. Prototek does not make, use, sell, offer for sale, or import into the United States, and has
10
                not made, used, sold, offered for sale or imported into the United States any products or
11
12              methods that infringe any valid claim of the '752 patent, either willfully, directly,

13              indirectly, contributorily, through the doctrine of equivalents, or otherwise, and has not
14              induced others to infringe the ‘752 patent. The ‘752 patent is not entitled to a scope
15
                sufficient to encompass any system employed or process practiced by Prototek.
16
                                              SECOND DEFENSE: INVALIDITY
17
          40. Each asserted claim of the ‘752 patent is invalid for failure to comply with one or more of
18
19              the requirements of the U.S.C., Title 35, including without limitation, 35 U.S.C. §§ 101,

20              102, 103, and 112, and the rules, regulations, and laws pertaining thereto. Without
21
                limitation, the claims of the ‘752 patent are invalid under 35 U.S.C. § 101 because the
22
                ‘752 patent claims nothing more than the abstract idea of decoding symbols, and the
23
                claims recite no special computer, hardware, or other physical components. Without
24
25              limitation, the ‘752 patent is also invalid under 35 U.S.C. §§ 102 and 103 because the QR

26              code technology that is alleged to be the “Accused Product” that purportedly enables the
27
                alleged infringement of the ‘752 patent, together with other third-party technologies
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -6-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 7 of 11




 1             enabling use of the QR code, are prior art that were invented in the 1990’s and donated

 2             by the inventors to the public. In view of the prior art references, the asserted claims of
 3
               the ‘752 patent are not novel and are anticipated and obvious to a person of ordinary skill
 4
               in the art. The foregoing is abundantly clear by the widespread public use of QR code
 5
               technology, and the abstract methods claimed under the ‘752 patent that enable its use,
 6
 7             both in the United States, and around the world.

 8                                 THIRD DEFENSE: LIMITATION ON DAMAGES
 9
          41. Plaintiff’s recovery for infringement is barred by the statutory limitation on damages
10
               pursuant to 35 U.S.C. §286. Even if, following a trial on the merits, this honorable Court
11
               were to find that an infringement of the ‘752 patent actually occurred by Prototek’s mere
12
13             purchase of an advertisement in the October 2013 issue of the Municipal Sewer & Water

14             Magazine, as suggested by Plaintiff’s only evidence of the alleged infringements in
15             Exhibit B of the Complaint, such alleged infringing activity, having allegedly occurred in
16
               October 2013 per the date stamp of the advertisement, occurred more than six years
17
               before the filing of the Complaint in August 2020, and thus any recovery in connection
18
19             therewith is barred by 35 U.S.C. §286. While Plaintiff alleges ongoing infringement, it

20             does not present a shred of evidence in support of its allegation.
21                             FOURTH DEFENSE: FAILURE TO STATE A CLAIM
22
          42. Plaintiff has failed to state a claim upon which relief can be granted because (i) the ‘752
23
               patent is not entitled to a scope sufficient to encompass any system employed or process
24
25             practiced by Prototek, (ii) the ‘752 patent does not claim patentable subject matter and is

26             otherwise invalid under 35 U.S.C. §§ 101, 102, 103, and 112, and (iii) Plaintiff’s
27             recovery is barred by 35 U.S.C. §286.
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -7-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 8 of 11




 1
 2        III.       PROTOTEK’S COUNTERCLAIMS
 3
                 For its counterclaims against Plaintiff, Prototek alleges as follows:
 4
                                                                   PARTIES
 5
          43. Prototek is a corporation organized under the laws of Washington, having a principal
 6
 7               place of business at 19044 Jensen Way NE, Poulsbo, Washington 98370.

 8        44. Upon information and belief based solely on paragraph 2 of the Complaint, Symbology is
 9
                 a Texas limited liability company with its principal place of business at 1801 NE 123
10
                 Street, North Miami, Florida 33181.
11
                                                              JURISDICTION
12
13        45. Prototek incorporates by reference paragraphs 43 and 44 above.

14        46. These counterclaims arise under the patent laws of the United States, Title 35, United
15               States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et
16
                 seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
17
          47. Symbology has consented to the personal jurisdiction of this Court at least by
18
19               commencing its action for patent infringement in this District, as set forth in its

20               Complaint.
21        48. Based solely on Symbology’s filing of this action, venue is proper in this District
22
                 pursuant to at least 28 U.S.C. § 1400.
23
                     COUNT I – DECLARATION REGARDING NON-INFRINGEMENT
24
25        49. Prototek incorporates by reference paragraphs 43 - 48 above.

26
27
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -8-
        Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 9 of 11




 1        50. Based on Symbology’s filing of this action and at least Prototek’s first affirmative

 2             defense of non-infringement, an actual controversy has arisen and now exists between the
 3
               parties as to whether Prototek infringes the ‘752 patent.
 4
          51. Prototek does not infringe the ‘752 patent because Prototek does not make, use, sell, offer
 5
               for sale, or import into the United States, and has not made, used, sold, offered for sale or
 6
 7             imported into the United States any products or methods that infringe any valid claim of

 8             the '752 patent, either willfully, directly, indirectly, contributorily, through the doctrine of
 9
               equivalents, or otherwise, and has not induced others to infringe the ‘752 patent. The
10
               ‘752 patent is not entitled to a scope sufficient to encompass any system employed or
11
               process practiced by Prototek.
12
13        52. Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., Prototek

14             requests a declaration by the Court that Prototek has not infringed and does not infringe
15             any claim of the ‘752 patent under any theory (including directly (whether individually or
16
               jointly) or indirectly (whether contributorily or by inducement)).
17
                            COUNT II – DECLARATION REGARDING INVALIDITY
18
19        53. Prototek incorporates by reference paragraphs 43 - 52 above.

20        54. Based on Symbology’s filing of this action and at least Prototek’s second affirmative
21             defense of invalidity, an actual controversy has arisen and now exists between the parties
22
               as to the validity of the claims of the ‘752 patent.
23
          55. The asserted claims of the ‘752 patent do not claim patentable subject matter and are
24
25             anticipated and/or rendered obvious by prior art donated by their inventors to the public

26             more than two decades ago, rendering the claims of the ‘752 patent invalid under at least
27             35 U.S.C. §§ 101, 102, and 103. Without limitation, the claims of the ‘752 patent are
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                        -9-
       Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 10 of 11




 1              invalid under 35 U.S.C. § 101 because the ‘752 patent claims nothing more than the

 2              abstract idea of decoding symbols, and the claims recite no special computer, hardware,
 3
                or other physical components. Without limitation, the ‘752 patent is also invalid under 35
 4
                U.S.C. §§ 102 and 103 because the QR code technology that is alleged to be the
 5
                “Accused Product” that purportedly enables the alleged infringement of the ‘752 patent,
 6
 7              together with other third-party technologies enabling use of the QR code, are prior art

 8              that were invented in the 1990’s and donated by the inventors to the public. In view of the
 9
                prior art references, the asserted claims of the ‘752 patent are not novel and are
10
                anticipated and obvious to a person of ordinary skill in the art. The foregoing is
11
                abundantly clear by the widespread public use of QR code technology, and the abstract
12
13              methods claimed under the ‘752 patent that enable its use, both in the United States, and

14              around the world.
15        56. Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., Prototek
16
                requests a declaration by the Court that claims of the ‘752 patent are invalid for failure to
17
                comply with one or more of the requirements of United States Code, Title 35, including
18
19              without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and

20              laws pertaining thereto.
21
22
          IV.        DEMAND FOR JURY TRIAL
23
          57. Prototek demands a trial by jury of any and all causes of action so triable.
24
25
26        V.         PRAYER FOR RELIEF
27
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                       - 10 -
       Case 3:20-cv-05871-BHS Document 6 Filed 10/02/20 Page 11 of 11




 1             WHEREFORE, Prototek respectfully requests that the Court enter judgment in Prototek’s

 2   favor and against Symbology by granting the following relief:
 3
               A. a declaration that the ‘752 patent is invalid.
 4
               B. a declaration that Prototek does not infringe, under any theory, any valid claim of the
 5
                     ‘752 patent.
 6
 7             C. judgment against Symbology and in favor of Prototek.

 8             D. dismissal of the Complaint with prejudice.
 9
               E. a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award to
10
                     Prototek of its costs and attorneys’ fees incurred in this action.
11
               F. further relief as the Court may deem just and proper.
12
13
14
     Dated: October 2, 2020                                          Respectfully submitted,
15   Seattle, WA                                                     Carpenter Wellington PLLC
16
17                                                                   _s/Mario V. Glisic_ ,
                                                                     Mario V. Glisic, Esq.
18                                                                   WSBA No. 46444
19                                                                   Attorney for Defendant
                                                                     Prototek Corporation
20
21
22
23
24
25
26
27
28

     Defendant’s Answer, Defenses, and Counterclaims to Plaintiff’s Complaint for Infringement of Patent - Civil Action No.: 3:20-cv-05871-BHS
                                                                       - 11 -
